United States Bankruptcy Court for the:

Fill in this information to identify your case: E} LE )

  

Northern District of California NOV 2 a 2019.

Case number (if known): Chapter you are filing under:
Chapter 7 BANKRUPTCY COURT
OI Chapter 11 OAKLAND, CALIFORNIA
QO) Chapter 12 oo
Chapter 43 C2 Check if this is an

amended filing

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 42147

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—~and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The
same person must be Debtor 1 in ail of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Ea Identify Yourself

1. Your full name

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

Write the name that is on your ONESHA
government-issued picture

 

 

identification (for example, First name First name

your driver's license or MARIE

passport). Middle name Middle name
EDWARDS

 

Bring your picture
identification to your meeting —- Last name Last name
with the trustee.

 

 

 

 

 

 

Suffix (Sr, Jr, JL WD Suffix (Sr., Jr, HID
2. All other names you
have used in the last 8 First name First name
years
Include your married or Middle name Middle name
maiden names.
Last name Last name
First name First name
Middle name Middle name
Last name Last name
3. Only the last 4 digits of
your Social Security xxx — xx-_ 9 7 _ 8 8 XXX XK
number or federal OR OR
Individual Taxpayer 9 9
Identification number FR se RK RK
(ITIN)

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1
Debtor 4 ONESHA M

EDWARDS

 

First Name Middle Name

4, Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

5. Where you live

Last Name

About Debtor 1:

Ql | have not used any business names or EINs.

Case number (i known).

About Debtor 2 (Spouse Only in a Joint Case):

C} | have not used any business names or EINs.

 

Business name

Business name

 

Business name

EIN

EN

2311 IVY HILL WAY

Business name

EIN

EIN

If Debtor 2 lives at a different address:

 

 

 

 

Number Street Number Street

APT # 731

SAN RAMON CA 94582

City State ZIP Code City State ZIP Code
Oba pane Corttya Costa

County County

6. Why you are choosing
this district to file for
bankruptcy

Official Form 104

If your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

If Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

Number Street Number Street

P.O. Box P.O. Box

City State ZIP Code City State ZIP Code
Check one: Check one:

WZ over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

LJ | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

Voluntary Petition for individuals Filing for Bankruptcy

U) Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

(3 | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

page 2
Debtor 4

ONESHA

EDWARDS

Case number (# known),

 

First Name

Middle Name

Last Name

a Tell the Court About Your Bankruptcy Case

7.

10.

11.

The chapter of the
Bankruptcy Code you
are choosing to file
under

How you will pay the fee

Have you filed for
bankruptcy within the
last 8 years?

Are any bankruptcy
cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partner, or by an
affiliate?

Do you rent your
residence?

Official Form 101

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

W Chapter 7

(] Chapter 11
(] Chapter 12
C2] Chapter 13

(J 1 will pay the entire fee when | file my petition. Please check with the clerk's office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

(} | need to pay the fee in installments. If you choose this option, sign and attach the
Application for individuals to Pay The Filing Fee in Installments (Official Form 103A).

W 1 request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

 

 

 

 

 

 

 

YW No
1 Yes. District When Case number
MM/ DD /YYYY
District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD IYYYY
2 No
L) Yes. Debtor Relationship to you
District When Case number, if known
MM/DD /YYYY
Debtor Relationship to you
District When Case number, if known
MM/DD/YYYY
CINo. Go to line 12.
\Q Yes. Has your landlord obtained an eviction judgment against you?

{Z. No. Go to line 12.

O) Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy page 3
Debtor 1 ONESHA M EDWARDS

7 Case number (if known),
First Name Middle Name Last Name

 

Eo Report About Any Businesses You Own as a Sole Proprietor

 

12. Are youa sole proprietor (No. Goto Part 4.
of any full- or part-time
business? ( Yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as

ooration, partnership, or Number Shoot

 

Name of business, if any

 

lf you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

 

 

Gity State ZIP Code

Check the appropriate box to describe your business:

C) Health Care Business (as defined in 11 U.S.C. § 101(27A))
(J Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
(J Stockbroker (as defined in 11 U.S.C. § 101(53A))

CJ Commodity Broker (as defined in 11 U.S.C. § 104(6))

LJ None of the above

13. Are you filing under If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines. lf you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if

are you a small business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

debtor? . WI No. Jam not filing under Chapter 11.

For a definition of smal!

business debtor, see Cl No. | am filing under Chapter 11, but | am NOT a small business debtor according to the definition in
11 U.S.C. § 101(51D). the Bankruptcy Code.

() Yes. | am filing under Chapter 11 and | am a small business debtor according to the definition in the
Bankruptcy Code.

Part a | Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

14.Do youownorhave any {No
property that poses or is
alleged to pose a threat Yes. What is the hazard?

 

of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any

property that needs If immediate attention is needed, why is it needed?

 

immediate attention?
For example, do you own

 

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Where is the property?

 

Number Street

 

 

City State ZIP Code

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 4

 
Debtor 1 ONESHA

M EDWARDS

 

First Name Middle Name Last Name

Case number (# known)

a Explain Your Efforts to Receive a Briefing About Credit Counseling

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. if you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

About Debtor 1:

You must check one:

Wi I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

CD i received a briefing from an approved credit
counseling agency within the 180 days before I
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any. ‘

(C) i certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after i made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. {f you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

CQ 1 am not required to receive a briefing about
credit counseling because of:

QO Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

(J Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
teasonably tried to do so.

O) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for individuals Filing for

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

L] | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

C} t received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

(C) | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
tequirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

lf the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

Ot am not required to receive a briefing about
credit counseling because of:

C2] incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
tational decisions about finances.

(2 Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

Cl) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Bankruptcy page 5
Debtor 1 ONESHA M

EDWARDS

 

First Name Middie Name

| Part 6: | Answer These Questions for Reporting Purposes

Last Name

Case number (if known),

 

16. What kind of debts do
you have?

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is
excluded and
administrative expenses
are paid that funds will be
available for distribution
to unsecured creditors?

18. How many creditors do

you estimate that you
owe?

19. How much do you
estimate your assets to
be worth?

20. How much do you
estimate your liabilities
to be?

Sign Below

For you

Official Form 101

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

(CI No. Go to line 16b.
Wi Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

CI No. Go to line 16c.
UJ Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

QI No. | am not filing under Chapter 7. Go to line 18.

W Yes. lam filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

WM No
QC) Yes

1-49

QQ 50-99
( 100-199
CQ 200-999

2 $0-$50,000

C2 $50,001-$100,000
LI $100,001-$500,000
C) $500,001-$4 million

“wf $0-$50,000

w $50,001-$100,000
C) $100,001-$500,000
( $500,001-$1 million

CI 1,000-5,000
LJ 5,001-10,000
L) 10,001-25,000

(LJ $1,000,001-$40 million

LJ $10,000,001-$50 million
C2 $50,000,001-$100 million
CJ $100,000,001-$500 million

(2 $1,000,001-$10 million

(2 $10,000,001-$50 million
CJ $50,000,001-$100 million
©) $100,000,001-$500 million

(} 25,001-50,000
CJ 50,001-100,000
() More than 100,000

C) $500,000,001-$1 billion

CJ $1,000,000,001-$10 billion
LJ $10,000,000,001-$50 billion
C) More than $50 billion

LJ $500,000,001-$1 billion

(2 $1,000,000,001-$10 billion
LJ $10,000,000,001-$50 billion
(J More than $50 billion

| have examined this petition, and | declare under penalty of perjury that the information provided is true and

correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. { understand the relief available under each chapter, and | choose to proceed

under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.CAS§ 152, “Ch
x wks bonhe Ly
Signature of Debtor 1

Executed on // [J?/ / q
MM // DD‘IYYYY

Voluntary Petition for Individuals Filing for Bankruptcy

19, and 3571.

Little x

Signature of Debtor 2

Executed on
MM / DD IYYYY

page 6

 
Debtor 4 ONESHA M EDWARDS

First Name Middie Name Last Name

Case number (i known)

 

|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no

For your attorney, if you are
represented by one

 

if you are not represented —_knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
x Date
Signature of Attorney for Debtor MM / DD IYYYY

 

Printed name

 

Firm name

 

Number Street

 

 

 

 

City State ZIP Code
Contact phone Email address
Bar number State
Official Form 104 Voluntary Petition for Individuals Filing for Bankruptcy page 7

Case: 19-42652 Doc#1 Filed: 11/22/19 Entered: 11/22/19 10:02:38 Page 7 of 58
Debtor 4 ONESHA M

EDWARDS

Case number (if known)

 

First Name Middle Name

For you if you are filing this
bankruptcy without an
attorney

If you are represented by
an attorney, you do not
need to file this page.

Official Form 101

x Yooh. (awa *®

Last Name

The law allows you, as an individual, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. if that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

CI No
Q Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

CL) No
id Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
(3 No
Wl Yes. Name of Person KENDRA WILLIS .

Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

 

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorneyymay cause me to lose my rights or property if | do not properly handle the case.

 

 

 

 

Signature of Debtor 1 Signature of Debtor 2
Date O23 / Date
MM/DD // MM/ DD /YYYY
Contact phone (51 0) 828-5907 Contact phone
Cell phone Cell phone
Email address Email address

 

Voluntary Petition for Individuals Filing for Bankruptcy page 8
Fill.in this information.to identify your case:

Debtor1 ONESHA M EDWARDS

First Name Muidie Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Northern District of California

Case number LJ Check if this is an
{known} amended filing

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Raw Summarize Your Assets

Your assets
Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)

 

 

 

 

 

1a. Copy line 55, Total real estate, from Schedule A/B oo... ccc ccssscctensereeeenaerecneesatavsesseseecasaeasenssuesensesassseessasseeasaesesanenes $ 0
1b. Copy line 62, Total personal property, from Schedule A/B oo... cesses eesateeenensceeesenscaseaeseesecaavaesneansecsueaeeaapsassenseaaees $ 2007.00
1c. Copy line 63, Total of all property on Schedule A/B oo... .cceccscecseecceseeeesesesesensacseaeusesessaseecaesuavaseasessecaeecnsenamesssenenteas $ 2007.00
a Summarize Your Liabilities
Your liabilities
Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D) 69024.00
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D............ $e
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F) 5 0

3a. Copy the total claims from Part 4 (priority unsecured claims) from line 6e of Schedule E/F

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F oo... escceccsssesctseeteeeeees + 5 36464 .00

 

 

 

 

 

Your total liabilities $ 105488.00
| Part 3: | Summarize Your Income and Expenses
4. Schedule |: Your Income (Official Form 1061) 4608.00
Copy your combined monthly income from line 12 of Schedule |... cies esses cenesseaeeseenseaseaeseceeesaeesstenaeeeessesenesaceenaenes $e
5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c of Schedule Joo... sccsceseeseseseesesscseeeessesneneeseeeneaesenseesesacsseceseceneaessaeeeesseneneeae $ 3871.38

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2
Debtor1 ONESHA M EDWARDS

First Name Middie Name Last Name

Case number {i known)

 

| Part 4: | Answer These Questions for Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
(CL) No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
Wi ves

7. What kind of debt do you have?

MW Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

LJ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ 1608.00

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F-

 

Total claim
From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) $
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) §
9d. Student loans. (Copy line 6f.) $
9e. Obligations arising out of a separation agreement or divorce that you did not report as $
priority claims. (Copy line 6g.)
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$
9g. Total. Add lines 9a through 9f. $

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

 
Fill in this information to identify your case and this filing:

pebtor1  ONESHA M EDWARDS

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if fiting) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Northern District of California

Case number

 

Q) Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property 42115

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

 

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

MA No. Go to Part 2.
() Yes. Where is the property?

What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put
Q Single-family home the amount of any secured claims on Schedule D:

 

 

 

 

4.4, __ QO pu plex or multi-unit building Creditors Who Have Claims Secured by Property.

Street address, if available, or other description i ;
LJ Condominium or cooperative Current value of the Current value of the
(] Manufactured or mobile home entire property? portion you own?
) Land $ $
QO) investment property

- Timeshare Describe the nature of your ownership
City State ZIP Code O other interest (such as fee simple, tenancy by

 

the entireties, or a life estate), if known.
Who has an interest in the property? Check one.

CJ debtor 4 only

County LJ Debtor 2 only g oo .
() Debtor 4 and Debtor 2 only econ this is rommunity property
see instructions

 

 

L} At teast one of the debtors and another

Other information you wish to add about this item, such as local
property identification number:

 

If you own or have more than one, list here:

i 2
What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put

Q) Single-family home the amount of any secured claims on Schedule D:
1.2, Creditors Who Have Claims Secured by Property.

CJ buptex or multi-unit buildi
Street address, if available, or other description P ng

 

 

 

 

 

 

LI Condominium or cooperative Current value of the Current value of the
(J Manufactured or mobile home entire property? portion you own?
() Land $ $
C2 investment property , .

Giy Slate —ZP Code HI Timeshare interest (such as fee simple, tenancy by
LJ other the entireties, or a life estate), if known.

Who has an interest in the property? Check one.

Q) Debtor 1 only
L) Debtor 2 only

Q Debtor 1 and Debtor 2 only () Check if this is community property
(1 At least one of the debtors and another (see instructions)

 

 

County

Other information you wish to add about this item, such as local
property identification number:

 

Official Form 106A/B Schedule A/B: Property page 1

 
Debtor 4 ONESHA M

EDWARDS

 

First Name Middie Name Last Name

4.3.
Street address, if available, or other description

 

 

 

 

What is the property? Gheck all that apply.
Q Single-family home

QO Duplex or multi-unit building

(] Condominium or cooperative

 

Case number (if known),

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the

 

 

 

 

entire property? ortion you own?
() Manufactured or mobile home property P y
O) Lana $ $
Q) investment property
City State ZIPCode (J Timeshare Describe the nature of your ownership
interest (such as fee simple, tenancy by
Q) other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
LY Debtor 1 only
County Qi Debtor 2 only
() Debtor 1 and Debtor 2 onty C) Check if this is community property
0 At east one of the debtors and another (see instructions)
Other information you wish to add about this item, such as locai
property identification number:
2. Add the dollar value of the portion you own for ali of your entries from Part 1, including any entries for pages $
you have attached for Part 1. Write that number here. ...............ccccceeteeecccneeeneeeeeeneneneeeaeeaeeeneesseceeeseeonesaneseeetenesee >

he Describe Your Vehicles

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

C) No
MW Yes
3.1. Make: HONDA
Model: PILOT
Year: 2017
40000

Approximate mileage:

Other information:

If you own or have more than one, describe here:

3.2. Make: HONDA
Model: CRV
Year: 2018

12000

Approximate mileage:

Other information:

Official Form 106A/B

Who has an interest in the property? Check one.

MW Debtor 1 only

(A Debtor 2 only

C) Debtor 4 and Debtor 2 only

C At least one of the debtors and another

UL) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

YW debtor 4 only

C) debtor 2 only

(J Debtor 4 and Debtor 2 only

C) At least one of the debtors and another

L) Check if this is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

g__35794.00 ¢ 0

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

¢ __ 33230.00 ¢ 0

 

page 2

 
 

Who has an interest in the property? Check one.

Debtor 1 ONESHA M EDWARDS
First Name Middle Name Last Name
3.3, Make:
Model: CI Debtor 4 only
Y C) Debtor 2 only
ear:

Approximate mileage:

Other information:

Make:
Model:

Year:

3.4.

Approximate mileage:

Other information:

U Debtor 1 and Debtor 2 only
(J At least one of the debtors and another

() Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

) Debtor 4 only

CQ Debtor 2 only

C) Debtor 1 and Debtor 2 only

(Al At teast one of the debtors and another

() check if this is community property (see
instructions)

Case number (if known)

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
entire property?

Current value of the
portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
entire property?

Current value of the
portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories

Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

w No
(] Yes

Make:
Model:

44.

Year:

Other information:

If you own or have more than one, list here:

Make:
Model:

Year:

4.2.

Other information:

Official Form 106A/B

Who has an interest in the property? Check one.

C) Debtor 4 only

CQ Debtor 2 only

() Debtor 4 and Debtor 2 only

(CY At least one of the debtors and another

(] Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
QQ Debtor 4 only

C] Debtor 2 only

(2 Debtor 4 and Debtor 2 only

(2 At feast one of the debtors and another

(J) check if this is community property (see
instructions)

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here

 

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
entire property?

Current value of the
portion you own?

page 3

 

 
bebtor1  ONESHA M EDWARDS

First Name Middle Name Last Name

| Part 3: | Describe Your Personal and Household Items

Do you own or have any fegal or equitable interest in any of the following items?

Case number (known)

 

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

) No
WD Ves. Describe,....., NORMAL HOUSEHOLD FURNITURE VALUED AT GARAGE SALE VALUES

7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

No
W] Yes. Describe.......... FLAT SCREEN TV'S VALUED AT USED STORE PRICES

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
$A No

Q) Yes. Deseribe..........

9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

ba No
(I Yes. Describe..........

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
No
CJ Yes. Describe..........

11.Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

QO) No
W Yes. Describe NORMAL CLOTHING VALUED AT USED STORE PRICES

12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver
4A No

() Yes. Deseribe...........
13.Non-farm animals

Examples: Dogs, cats, birds, horses

WM No
LI Yes. Describe...........

14, Any other personal and household items you did not already list, including any health aids you did not list

kA No
Q) Yes. Give specific
information. ...........-

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here .............0......00.

Official Form 106A/B Schedule A/B: Property

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

$ 1000.00

$ 500.00

§ 500.00

 

 

§ 2000.00

 

page 4

 

 
Debort  ONESHA M EDWARDS

Case number (if known),

 

 

 

First Name Middle Name Last Name
| art 4 | Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured claims
or exemptions.
16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
42 No
CDV GS oescccccestssssssscsssssssnsennssnneeenseenseseenseeqesuusvestssssssnasstasssesrsssaeensesunansennsanarseggensqeeeqsengersuieuanysuantansassssnstsaresss

 

 

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.

 

 

QC) No

BD Yes veces institution name:
17.1. Checking account: CHASE BANK 6.00
17.2. Checking account:
17.3. Savings account: CHASE BANK 1.00

 

17.4. Savings account:

 

17.5, Certificates of deposit:

 

47.6. Other financial account:

 

17.7. Other financial account:

 

17.8. Other financial account:

 

17.9, Other financial account:

PP fF Ff PF fF Ff F DF HF

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

WY No

CD Yes Institution or issuer name:

 

 

 

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

 

 

W No Name of entity: % of ownership:
(] Yes. Give specific 0% %
information about o%
theM...cseees ° %
90,

 

Official Form 106A/B Schedule A/B: Property page 5

 
Debtor 1

ONESHA

M EDWARDS Case number (itknown)

 

First Name

 

Middie Name Last Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

WA No
( Yes. Give specific _ Issuer name:
information about
theme. ee $
$
$
21, Retirement or pension accounts
Examples: interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
YW No
QO) Yes. List each
account separately. Type of account: Institution name:
404(k) or similar plan: $
Pension plan: $
IRA: $
Retirement account: $
Keogh: $
Additional account: $
Additional account: $
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others
VW No
A (- Institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water: $
Rented furniture: $
Other: $
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
1 No
7 issuer name and description:
$
$
$

Official Form 106A/B

 

Schedule A/B: Property

page 6
pentort ONESHA M EDWARDS

First Name Middie Name Last Name

Case number (if known),

 

24, Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
M1 No

DD eS nnenesnnnennnnnen Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

YW No

C) Yes. Give specific
information about them... $

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

YI No

CI Yes. Give specific
information about them... $

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

Wi No

C) Yes. Give specific
information about them.... $

Money or property owed to you? Current value of the

portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you

M1 No

C} Yes. Give specific information
about them, including whether
you already filed the returns State:
and the tax years. 0... ee

Federal:

Local: $

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

M1 No

QC) Yes. Give specific information..............

Alimony: $
Maintenance: $
Support: $
Divorce settlement: $
Property settlement: $
30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
WI No
QQ Yes. Give specific information... ;

Official Form 106A/B Schedule A/B: Property page 7
Debtor? ~~ ONESHA M EDWARDS

First Name Middle Name Last Name

Case number (if known),

 

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

YW No

LJ Yes. Name the insurance company

. vw Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ...

 

 

 

32. Any interest in property that is due you from someone who has died

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

MW No

C] Yes. Give specific information..............

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

W No

(2) Yes. Describe each claim. 0.0.0...

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

Wl No

CQ Yes. Describe each claim. ok

35. Any financial assets you did not already list

{2 No

CJ Yes. Give specific information...........

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached 0
for Part 4. Write that number here > $ 7.00

 

 

 

Ca Describe Any Business-Related Property You Qwn or Have an Interest In. List any real estate in Part 1.

 

37.Do you own or have any legal or equitable interest in any business-related property?
W No. Go to Part 6.
UL) Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured ciaims
or exemptions.

38. Accounts receivable or commissions you already earned

C) No
C) Yes. Describe.......

$
39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
C] No
Q) Yes. Describe....... $

Official Form 106A/B Schedule A/B: Property page 8

 
Debtor1 ONESHA M EDWARDS

First Name Middle Name Last Name

Case number {i known)

 

 

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

{2 No
LJ Yes. Describe.......

 

 

 

 

 

 

 

 

 

 

$
41.Inventory
C) No
LI Yes. Describe....... $
42,Interests in partnerships or joint ventures
C No
CI Yes. Describe....... Name of entity: % of ownership:
% $
% $
% §.
43. Customer lists, mailing lists, or other compilations
C] No
U Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
I No
(2) Yes. Descrtibe........
$
44. Any business-related property you did not already list
LY No
C) Yes. Give specific 5
information .........
$
$
$
$
$
45, Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $
for Part 5. Write that number here »

 

 

 

 

Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

46, Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
Wi No. Go to Part 7.
C) Yes. Go to line 47.

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

47, Farm animals
Examples: Livestock, poultry, farm-raised fish

QO No

Official Form 106A/B Schedule A/B: Property page 9
bebtor1  ONESHA M EDWARDS

First Name Middie Name Last Name

 

48. Crops—either growing or harvested

Case number (ir known),

 

 

 

 

 

 

 

 

 

 

 

 

 

(No
QC) Yes. Give specific
information............. $
49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
U2 No
he  (-
$
50. Farm and fishing supplies, chemicals, and feed
() No
CD Ves ooo essssssssssesesees
$
51. Any farm- and commercial fishing-related property you did not already list
C) No
Cl Yes. Give specific
information. ............ $
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $
for Part 6. Write that number here >
Describe All Property You Own or Have an Interest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership
WZ No
CL) Yes. Give specific
information.............
$
54. Add the dollar value of all of your entries from Part 7. Write that number here > $
List the Totals of Each Part of this Form
55. Part 1: Total real estate, line 2 > ¢ 0
56, Part 2: Total vehicles, line 5 $ 0
57. Part 3: Total personal and household items, line 15 $ 2000.00
58. Part 4: Total financial assets, line 36 $ 7.00
59. Part 5: Total business-related property, line 45 $ 0
60. Part 6: Total farm- and fishing-related property, line 52 $ 0
61.Part 7: Total other property not listed, line 54 + 0
62. Total personal property. Add lines 56 through 61. ............0.0 $ 2007.00 Copy personal property total > +3 2007.00
63. Total of all property on Schedule A/B. Add line 55 + line 62.00. ccssescesssctscseeeccerecseesencessecesesscceseaecaesncsseavesensease $ 2007.00

Official Form 106A/B Schedule A/B: Property

 

 

 

 

page 10
Fiil in this information to identify your case:

Debtor1  ONESHA M EDWARDS

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptey Court for the:Northern District of California

Case number ( Cheek if this is an
if known) amended filing

 

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

ao identify the Property You Claim as Exempt

 

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

Mi You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
C) You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
. 703.140(b)(3
aie tion: © HOUSEHOLD FURNITURI — ¢ 1000.00 Wi ¢ 1000.00 3.140(0)(3)
escription: a
Line from CI 100% of fair market value, up to
Schedule A/B: 6 any applicable statutory limit
ere lion: ELECTRONICS $500.00 Wi ¢ 500.00 703.140(b)(3)
escription: Se
Line from 7 C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief = CLOTHES $500.00 i ¢ $00.00 703.140(b)(3)
description: Se
Line from C) 100% of fair market value, up to
Schedule A/B: 11 any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

wi No
Q) Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

M No

L) Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1of__
Debtor 1

ONESHA

M EDWARDS

 

First Name

Middle Name

Additional Page

Brief description of the property and line
on Schedule A/B that lists this property

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:
Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:
Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Official Form 106C

Last Name

Current value of the
portion you own

Copy the value from

Case number (if known)

 

Amount of the exemption you claim

Check only one box for each exemption

 

LI 100% of fair market value, up to

 

LJ 100% of fair market value, up to

 

LJ 100% of fair market value, up to

 

C] 100% of fair market value, up to

 

13 100% of fair market value, up to

 

 

(I 100% of fair market value, up to

 

OC) 100% of fair market value, up to

 

] 100% of fair market value, up to

 

(1 100% of fair market value, up to

 

CI 100% of fair market value, up to

 

 

Q 100% of fair market value, up to

Schedule A/B
BANK ACCOUNTS $ 7.00 Ws 7.00
17
_— any applicable statutory limit
$ Us
any applicable statutory limit
$ Qs
a any applicable statutory limit
$ CIs
——— any applicable statutory limit
$ Ls
any applicable statutory limit
$ Os
_~ any applicable statutory limit
$ Os
—_ any applicable statutory limit
$ Cis
any applicable statutory limit
$ Cis
—_— any applicable statutory limit
$ Lis
— any applicable statutory limit
$ Cis
any applicable statutory limit
$ Os

 

(2 100% of fair market value, up to
any applicable statutory limit

Schedule C: The Property You Claim as Exempt

Specific laws that allow exemption

703.140(b)(5)

page 2 of

 
Fili in this information to identify your case:

 

 

 

pebtor1  ONESHA M EDWARDS
First Name Middle Name Last Name

Debtor 2

(Spouse, if filing) First Name Middie Name Last Name

United States Bankruptcy Court for the: Northern District of California

Case number : oo:
{If known) LJ Check if this is an
amended filing

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
UL) No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
w Yes. Fillin all of the information below.

iuko List All Secured Claims
Column A Column B Column C

2. List all secured claims. if a creditor has more than one secured claim, list the creditor separately amount of claim Value of collateral. Unsecured
for each claim. If more than one creditor has a particular claim, list the other creditors in Part2. 5 not deduct the that supports this portion
As much as possible, list the claims in alphabetical order according to the creditor's name.

 

 

 

 

 

 

 

 

 

 

value of collateral. claim If any
AMERICAN HONDA FINANCE Describe the property that secures the claim: $ 35794.00 $ 28000.00 $ 7794.00
Creditors Name
2017 HONDA PILOT
2420 CAMINO RAMON
Number Street
STE 350 As of the date you file, the claim is: Check ail that apply.
Q Contingent
SAN RAMON CA 94583 1 unliquidated
City State ZIP Code Q Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
Gd Debtor 1 only Mf An agreement you made (such as mortgage or secured
(2 Debtor 2 only car loan)
C) Debtor 4 and Debtor 2 onty (Statutory lien (such as tax lien, mechanic's lien)
Q) Atleast one of the debtors and another 1 Judgment lien from a lawsuit
CI Other (including a right to offset)
QO) Check if this claim relates to a
community debt
Date debt was incurred 11/18/2017 Last 4 digits of account number _1_ 2 < &
| 2.2} AMERICAN HONDA FINANCE Describe the property that secures the claim: $ 33230.00 ¢ 29000.00¢ 4230.00
Creditor's Name
2018 HONDA CRV
2420 CAMINO RAMON
Number Street
STE 350 As of the date you file, the claim Is: Check all that apply.
QO) Contingent
SAN RAMON CA 94583 OQ) unliquidated
City State ZIP Code QO Disputed
Who owes the debt? Check one. Nature of llen. Check all that apply.
Wf Debtor 4 only Mf An agreement you made (such as mortgage or secured
(2 Debtor 2 only car loan)
() Debtor 1 and Debtor 2 only CJ Statutory lien (such as tax lien, mechanic's lien)
(3 At teast one of the debtors and another CJ Judgment lien fram a lawsuit

C) other (including a right to offset)
C) Check if this claim relates to a

community debt
Date debt was Incurred 08/31/2018 Last 4 digits of account number 2 2 1 7

Add the dollar value of your entries in Column A on this page. Write that number here: f 69024.00]

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of _!

 
LEN eR LAELIA OCA Li ge ce) t leer Cy

Debtor 14 ONESHA

EDWARDS

 

First Name Middle Name

Debtor 2

Last Name

 

(Spouse, if filing) First Name Middte Name

Last Name

United States Bankruptcy Court for the: Northern District of California

Case number

LU) Check if this is an

 

(if known)

 

amended filing

 

Official Form 106E/F

 

Schedule E/F: Creditors Who Have Unsecured Claims

12/15

 

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Aliso list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. \f more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of

any additional pages, write your name and case number (if known).

ee List All of Your PRIORITY Unsecured Claims

 

4. Do any creditors have priority unsecured claims against you?

QA No. Go to Part 2.
C} Yes.

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an expianation of each type of claim, see the instructions for this form in the instruction booklet.)

 

2.4

 

 

 

Priority Creditors Name

 

Number Street

 

 

City State

Who incurred the debt? Check one.

OQ) Debtor 1 only

O21 Debtor 2 only

C) Debtor 1 and Debtor 2 only

C) At least one of the debtors and another

ZIP Code

U Check if this claim is for a community debt

Is the claim subject to offset?
QO) No
CQ) Yes

[S|

 

Priority Creditors Name

 

Number Street

 

 

City State

Who incurred the debt? Check one.

QI Debtor 4 only

Q) Debtor 2 only

C2 Debtor 4 and Debtor 2 only

(2 At least one of the debtors and another

ZIP Code

Q) Check if this claim Is for a community debt

Is the claim subject to offset?

(C) No
CQ Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim Priority

amount

Nonpriority
amount

Last 4 digits of account number $ $ $

When was the debt incurred?

As of the date you file, the claim is: Check ail that apply.
Q Contingent

(J Unliquidated

Qj Disputed

Type of PRIORITY unsecured claim:

Domestic support obligations
Taxes and certain other debts you owe the government

Claims for death or personal injury while you were
intoxicated

Other. Specify

O OoOC

 

Last4 digits ofaccountnumber gg $. $

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Q Contingent
CQ unliquidated
ie) Disputed

Type of PRIORITY unsecured claim:
CQ Domestic support obligations
Taxes and certain other debts you owe the government

intoxicated

Q
C) Claims for death or personal injury while you were
QC) other. Specify

 

page 1 of } J

i

 
Debtor 4 ONESHA

EDWARDS

Case number (if known)

 

First Name Middte Name

Last Name

eka Your PRIORITY Unsecured Claims — Continuation Page

 

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.

[J

 

Priority Creditor's Name

 

Number Street

 

 

City State ZIP Code

Who incurred the debt? Check one.

( Debtor 4 only

U) Debtor 2 only

(2 Debtor 4 and Debtor 2 only

(C) At least one of the debtors and another

QQ Check if this claim ts for a community debt

\s the claim subject to offset?

OQ No
OC Yes

 

Priority Creditor's Name

 

Number Street

 

 

City State ZIP Code

Who incurred the debt? Check one.

CJ Debtor 4 only

C) Debtor 2 only

Q) Debtor 4 and Debtor 2 only

(J At least one of the debtors and another

Q) Check if this claim is for a community debt

Is the claim subject to offset?

CI No
OQ] Yes

 

Priority Creditor's Name

 

Number Street

 

 

City State ZIP Code

Who Incurred the debt? Check one.

QO) Debtor 4 only

U) Debtor 2 only

CY Debtor 1 and Debtor 2 only

CQ) At teast one of the debtors and another

(2) Check if this claim is for a community debt

ts the claim subject to offset?

CQ) No
QC) Yes

Official Form 106E/F

Total claim Priority

amount

Last 4 digits of account number $ $
When was the debt incurred?

As of the date you file, the claim is: Check ail that apply.

Q Contingent
C) Unliquidated
Q) Disputed

Type of PRIORITY unsecured claim:

Domestic support obligations
Taxes and certain other debts you owe the government

Claims for death or personai injury while you were
intoxicated

Other. Specify

O COO

 

Last 4 digits of account number $ $

When was the debt incurred?

As of the date you file, the claim is: Check ali that apply.

Q Contingent
QC) unliquidated
Q Disputed

Type of PRIORITY unsecured claim:

Domestic support obligations
Taxes and certain other debts you owe the government

Claims for death or personal injury while you were
intoxicated

Other. Specify

O Ooo

 

Last 4 digits of accountnumber $ $
When was the debt incurred?

As of the date you file, the claim is: Check ail that apply.

Q Contingent
Q Unliquidated
CQ) Disputed

Type of PRIORITY unsecured claim:

Domestic support obligations
Taxes and certain other debts you owe the government

Claims for death or personal injury while you were
intoxicated

Other. Specify

C COO

 

Schedule E/F: Creditors Who Have Unsecured Claims

Nonpriority
amount

paged of [DB

 
Debtor 1 ONESHA

EDWARDS

 

First Name Middle Name Last Name

List All of Your NONPRIORITY Unsecured Claims

Case number (if known)

 

3. Do any creditors have nonpriority unsecured claims against you?

C2 No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. if a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

COMENITY BANK/SAMUELS

 

Nonpriority Creditor's Name

PO BOX 182789

 

 

Number Street
COLUMBUS OH 43218
City State ZIP Code

Who Incurred the debt? Check one.

fA Debtor 1 only

Q) Debtor 2 only

() Debtor 1 and Debtor 2 only

CQ Atleast one of the debtors and another

CD Check if this claim is for a community debt

Is the clalm subject to offset?
Wi No
( Yes

AD ASTRA RECOVERY

 

Nonpriority Creditor's Name

7330 W 33RD STREET NSTE 118

 

 

Number Street
WICHITA KS 67205
City State ZIP Code

Who incurred the debt? Check one.

Wi Debtor 1 only

Q) Debtor 2 only

CJ Debtor 4 and Debtor 2 only

C At teast one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

Wi No
CQ) Yes

PORTFOLIO RECOVERY

 

Nonpriority Creditors Name

120 CORPORATE BLVD STE 100

 

 

Number Street
NROFOLK VA 23502
City State ZIP Cade

Who incurred the debt? Check one.

(4 Debtor 1 only

U) Debtor 2 only

2 Debtor 1 and Debior 2 only

CJ At least one of the debtors and another

C2 Check if this claim Is for a community debt

Is the claim subject to offset?
bd No
C] Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim
Last 4 digits of account number A 3 68 OO 3971.00
When was the debt incurred? 05/05/2018

As of the date you file, the claim is: Check all that apply.

(Y Contingent
C) Unliquidated
U) pisputed

Type of NONPRIORITY unsecured claim:

C2 student loans

Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

C) Debts to pension or profit-sharing plans, and other similar debts

WA other. Specify REVOLVING

Last 4 digits of accountnumber 9 8 8 9 $ 309.00

When was the debt incurred? 01/24/2016

As of the date you file, the claim is: Check all that apply.

QO Contingent
Q2 Unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

Q) Student loans

a Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

C2 Debts to pension or profit-sharing plans, and other similar debts

& other. Specify FINANCIAL

 

Last 4 digits of account number 3 0 5 9 705.00
When was the debt incurred? 12/22/2014

As of the date you file, the claim is: Check all that apply.

C Contingent
QO Unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

(2 student loans

Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

QO) Debts to pension or profit-sharing plans, and other similar debts

WZ other. Specify COLLECTION

page of O

‘a

 
Debtor 1 ONESHA

First Name Middle Name Last Name

EDWARDS

Case number (i known)

 

ES Your NONPRIORITY Unsecured Claims — Continuation Page

 

Official Form 106E/F

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one.

4 Debtor 4 only

UO) Debtor 2 only

CJ debtor 1 and Debtor 2 only

C) At least one of the debtors and another

( Check if this claim is for a community debt

is the claim subject to offset?

| No
Cl Yes

Q Unliquidated
QO Disputed

Type of NONPRIORITY unsecured claim:

CQ Student loans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

CQ) Debts to pension or profit-sharing plans, and other similar debts

Mi other. Specify REVOLVING

Schedule E/F: Creditors Who Have Unsecured Claims

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
|_| AMERICAN EXPRESS Last 4 digits of account number 3 ft. 3 6 $ 1013.00
Nonpriority Creditor’s Name . 4 1/22/201 7
PO BOX 981537 When was the debt incurred?
Number Street . ; .
EL PASO ™ 79998 As of the date you file, the claim is: Check ail that appiy.
City State ZIP Code (Contingent
( Unliquidated
Who incurred the debt? Check one. C) pisputed
(A Debtor 4 only
CQ) Debtor 2 only Type of NONPRIORITY unsecured claim:
Cl] Debtor 4 and Debtor 2 only (Student foans
U2 At least one of the debtors and another QJ Obligations arising out of a separation agreement or divorce that
U2 Check if this claim is for a community debt you did not report as priority claims —_
2 Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Mi other. Specify REVOLVING
wi No
Q Yes
AMERICAN EXPRESS Last 4 digits of account number Q- 8 5 6 $ 1521.00
Nonpriority Creditors Name
Wh he debt i 2 07/28/2018
PO BOX 981537 en was the debt incurred
Number Street inn tee
EL PASO ™ 79998 As of the date you file, the claim is: Check all that apply.
Giy State ZIP Code 2 Contingent
C2 Unliquidated
Who incurred the debt? Check one. ©) pisputea
&d Debtor 4 only
O Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only QO student loans
At least one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
(2 Check if this claim Is for a community debt you did not report as priority claims a
(2 Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? QM other. Specify REVOLVING
ws No
C) Yes
¢ 1954.00
CAPITAL ONE/WALMART Last 4 digits of account number 8 5 9 8
Nonpriority Creditors Name
PO BOX 30281 When was the debt incurred? 11/13/2016
Nurnber Street tan tee
SALT LAKE CITY UT 84130 As of the date you file, the claim is: Check all that apply.
City Slate ZIP Code C) Contingent

wo a[D

 
Debtor1 ONESHA M

EDWARDS

 

First Name Middle Name Last Name

| Part 2: List All of Your NONPRIORITY Unsecured Claims

Case number (if known)

 

 

3. Do any creditors have nonpriority unsecured claims against you?

C1 No. You have nothing to report in this part. Submit this form to the court with your other schedules.

LA Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

COMENITY BANK/VCTRSSEC

 

Nonpriority Creditors Name

PO BOX 182789

 

 

Number Street
COLUMBUS OH 43218
City State ZIP Code

Who Incurred the debt? Check one.

W Debtor 1 only

(2) Debtor 2 only

CI) Debtor 1 and Debtor 2 only

C) At least one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?
W No
CJ Yes

COMENITY BANK/CHILDRENS PLACE

 

Nonpriority Creditors Name

PO BOX 182120

 

 

Number Street
COLUMBUS OH 43218
City State ZiP Code

Who incurred the debt? Check one.

Wi debtor 1 only

U) Debtor 2 only

(2 Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

(J Check if this claim is for a community debt

Is the claim subject to offset?

W No
QC] Yes

CREDIT ONE BANK

Nonpriority Creditors Name

PO BOX 98872

 

 

Number Street
LAS VEGAS NV 89193
City State ZIP Code

Who incurred the debt? Check one.

04 Debtor 4 only

C) Debtor 2 only

(] Debtor 4 and Debtor 2 only

CD At least one of the debtors and another

C2 Check if this claim is for a community debt

Is the claim subject to offset?
Gd No
CJ Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim
Last 4 digits of account number 6 2 0 go 519.00
When was the debt incurred? 11/16/2016

As of the date you file, the claim is: Check all that apply.

Q Contingent
Q Unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

C} Student loans

C] Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

C2 Debts to pension or profit-sharing plans, and other similar debts

Mf other. Specify REVOLVING

 

Last 4 digits of account number 0 1 8 9 g____—-1160.00°
When was the debt incurred? 11/12/2016

As of the date you file, the claim is: Check all that apply.

Q Contingent
QO Unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

2 student foans

(J Obtigations arising out of a separation agreement or divorce
that you did not report as priority claims

(2 Debts to pension or profit-sharing plans, and other similar debts

td other. Specify REVOLVING

 

Last 4 digits of account number _ 1

05 7 $ 450.00
When was the debt incurred? 03/23/2016 a

As of the date you file, the claim Is: Check all that apply.

Q Contingent
(] unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

2] Student loans

C1 Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

C) Debts to pension or profit-sharing plans, and other similar debts

Gd other. Specify REVOLVING

 

page) of LD
bebiort  ONESHA M

EDWARDS

 

First Name Middle Name Last Name

Case number (i known),

 

Ea Your NONPRIORITY Unsecured Claims — Continuation Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Tota! claim

[| DISCOVER FINCL SVC LLC

 

Nonpriority Creditors Name

PO BOX 15316

 

 

Number Street
WILMINGTON DE 19850
City State ZIP Code

Who incurred the debt? Check one.

\ Debtor 4 only

Q) Debtor 2 only

O Debtor 1 and Debtor 2 only

CJ At ieast one of the debtors and another

C2 Check if this claim is for a community debt

ts the claim subject to offset?

wi No
Q} Yes

DSNB/MACY'S

 

Nonpriority Creditor's Name

PO BOX 8218

 

Number Street

MASON OH 45050

 

City State ZIP Code

Who incurred the debt? Check one.

W Debtor 1 only

CD Debtor 2 only

Q) Debtor 1 and Debtor 2 only

CI At ieast one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

i No
QQ Yes

JPMCB CARD SERVICES

 

Nonpriority Creditors Name

PO BOX 15369

 

 

Number Street
WILMINGTON DE 19850
City State ZIP Cada

Who incurred the debt? Check one.

W Debtor 4 only

QC) Debtor 2 only

C2 Debtor 4 and Debtor 2 only

L) At least one of the debtors and another

Q Check if this claim is for a community debt

Is the claim subject to offset?

wi No
(Q Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Last 4 digits of account number OF 6 < 5. $ 3900.00
When was the debt incurred? 11/21/2017
As of the date you file, the claim is: Check ail that apply.
Q Contingent
(J Unliquidated
() pisputed
Type of NONPRIORITY unsecured claim:
(J Student foans
Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
Q) Debts to pension or profit-sharing plans, and other similar debts
SA other. Specify. REVOLVING
Last 4 digits of accountnumber 1 9 3 1. ¢ 580.00
When was the debt incurred? 05/04/2019
As of the date you file, the claim is: Check all that apply.
Q Contingent
(2 Untiquidated
O Disputed
Type of NONPRIORITY unsecured claim:
(J Student foans
Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
C1 Debts to pension or profit-sharing plans, and other similar debts
QA other. Specify REVOLVING
¢ 3047.00

Last 4 digits of account number Tv 4 A 7

When was the debt incurred? 11/20/2017

As of the date you file, the claim is: Check all that apply.

QO Contingent
C) unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

C) Student toans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

) Debts to pension or profit-sharing plans, and other similar debts

6A other. Specify REVOLVING

 
Debtor? ONESHA M EDWARDS

First Name Middle Name Last Name

Case number (if known)

 

fa List AH of Your NONPRIORITY Unsecured Claims

 

3. Do any creditors have nonpriority unsecured claims against you?

} No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

NAVY FEDERAL CR UN

 

Nonpriority Creditors Name

 

 

POB 3700

Number Street

MERRIFIELD VA 22119
City State ZIP Code

Who incurred the debt? Check one.

4 Debtor 1 only

Q) Debter 2 only

CJ Debtor 4 and Debtor 2 only

C} At least one of the debtors and another

C) Check if this claim is for a community debt

Is the clalm subject to offset?
W No
QC) ves

SYNCB/ASHLEY HOME STORE

 

Nonpriority Creditor's Name

PO BOX 965001

 

 

Number Street
ORLANDO FL. 32896
City State ZIP Code

Who incurred the debt? Check one.

Wi Debtor 4 only

C2 Debtor 2 only

C) Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

9) No
C) Yes

SYNCB CARE CREDIT

 

Nonpriority Creditor’s Name

PO BOX 965036

 

 

Number Street
ORLANDO FL 32896
City State ZiP Code

Who incurred the debt? Check one.

Qd Debtor 4 only

C) Debtor 2 only

(J Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

(2) Check if this claim is for a community debt

is the claim subject to offset?
&d No
C) Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim

Last 4 digits of account number A _ 3 2 § 10876.00

Wien was the debt incurred? 05/09/2017

As of the date you file, the claim is: Check all that apply.

QO Contingent
Q Unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

CY Student loans

Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

C) Debts to pension or profit-sharing plans, and other similar debts

(other. Specify REVOLVING

 

$ 69.00

Last 4 digits of account number 2 7 O 6
When was the debt incurred? 11/05/2018

As of the date you file, the claim is: Check all that apply.

Q Contingent
Unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

C1 Student toans

Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

C) Debts to pension or profit-sharing plans, and other similar debts

(other. Specify REVOLVING

 

Last 4 digits of accountnumber 6 5 1 4 $ 4937.00
When was the debt incurred? 09/13/2016

As of the date you file, the claim is: Check all that apply.

i] Contingent
() Unliquidated
QQ Disputed

Type of NONPRIORITY unsecured claim:

CY Student ioans

Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

QO) Debts to pension or profit-sharing plans, and other similar debts

Wd other. Specify REVOLVING

 

page | of O

 
Debtor 1 ONESHA M

EDWARDS

 

First Name Middie Name Last Name

Case number (i known),

eo Your NONPRIORITY Unsecured Claims — Continuation Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim

| SYNCB/JC PENNEY

 

Nonpriority Creditor's Name

PO BOX 965007

 

 

Number Street
ORLANDO FL 32896
City State ZIP Code

Who incurred the debt? Check one.

A Debtor 4 only

Q) Debtor 2 only

Q) Debtor 1 and Debtor 2 only

( At least one of the debtors and another

CJ Check if this claim is for a community debt

Is the claim subject to offset?

| No
C) Yes

SYNCB/PAYPAL CREDIT

 

Nonpriorily Creditors Name

PO BOX 965005

 

 

Number Street
ORLANDO FL 32896
City State ZIP Code

Who incurred the debt? Check one.

W Debtor 4 only

() Debtor 2 only

() Debtor 1 and Debtor 2 only

C) At least one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

of No
Q) ves

WF/DILLARDS

 

Nonpriority Creditor’s Name

PO BOX 14517

 

Number Street
DES MOINES IA 50306
City Stato ZIP Code

 

Who incurred the debt? Check one.

G4 Debtor 4 only

OC} Debtor 2 only

C) Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

C2) Check if this claim is for a community debt

Is the claim subject to offset?

| No
) Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Last 4 digits of account number 9 2 2 ft $ 311.00
When was the debt incurred? 03/28/2019
As of the date you file, the claim is: Check all that apply.
Q Contingent
C) Untiquidated
Q Disputed
Type of NONPRIORITY unsecured claim:
CQ Student loans
Q) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
CQ) debts to pension or profit-sharing plans, and other similar debts
WA other. Specify. REVOLVING
Last 4 digits of account number 2. 4 9 2 $321.00
When was the debt incurred? 97/29/2018
As of the date you file, the claim is: Check all that apply.
Q Contingent
QC) Unliquidated
QO Disputed
Type of NONPRIORITY unsecured claim:
C) Student toans
Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
C2 Debts to pension or profit-sharing plans, and other similar debts
(4 other. Specify, REVOLVING
$821.00

Last 4 digits of accountnumber 0 4 3 6.
When was the debt incurred? 05/04/2019

As of the date you file, the claim is: Check all that apply.

Q Contingent
C] unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

(2 student toans

(2 Obiigations arising out of a separation agreement or divorce that
you did not report as priority claims

(2 Debts to pension or profit-sharing plans, and other similar debts

MA Other. Specify REVOLVING

nage) of i?)

 
Debtor 1

ONESHA

M EDWARDS

Case number (if known)

 

First Name

Middte Name Lasi Name

ee List Others to Be Notified About a Debt That You Already Listed

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 

Name

 

Number

Street

 

 

City

State ZIP Code

 

Name

 

Number

Street

 

 

City

State ZIP Code

 

Name

 

Number

Street

 

 

City

State ZIP Code

 

Name

 

Number

Street

 

 

City

State ZIP Code

 

Name

 

Number

Street

 

 

City

State ZIP Code

 

Name

 

Number

Street

 

 

City

State ZIP Code

 

Name

 

Number

Street

 

 

City

Official Form 106E/F

State ZIP Code

Schedule E/F

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): () Part 1: Creditors with Priority Unsecured Claims
C) Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number ___

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): QO) Part 1: Creditors with Priority Unsecured Claims
( Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number ___

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): U1 Part 1: Creditors with Priority Unsecured Claims
() Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number ___

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): (J Part 1: Creditors with Priority Unsecured Claims

() Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number ___

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): QO Part 1: Creditors with Priority Unsecured Claims
C) Part 2: Creditors with Nonpriority Unsecured
Claims :

Last 4 digits of account number __

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims

(] Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number ___

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): () Part 1: Creditors with Priority Unsecured Claims

C) Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number _

: Creditors Who Have Unsecured Claims naa of LD)

 
Total claims
from Part 1

Total claims
from Part 2

Official Form 106E/F

Debtorr1 ONESHA M

EDWARDS

 

First Name Middle Name Last Name

Ea Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.

Add the amounts for each type of unsecured claim.

6a. Domestic support obligations

6b. Taxes and certain other debts you owe the

government

6c. Claims for death or personal injury while you were

intoxicated

6d. Other. Add ail other priority unsecured claims.

Write that amount here.

6e. Total. Add lines 6a through 6d.

6f. Student loans

6g. Obligations arising out of a separation agreement

or divorce that you did not report as priority

claims

6h. Debts to pension or profit-sharing plans, and other

similar debts

6i. Other. Add all other nonpriority unsecured claims.

Write that amount here.

6j. Total. Add lines 6f through 6i.

6a.

6b.

6c.

6d.

Ge.

6f.

6g.

6h.

6i.

Gj.

Case number (i known),

Total claim

+s

 

 

 

 

Total claim

+5 36464.00

 

 

5 36464.00

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

peat) be

Case: 19-42652 Doc#1 Filed: 11/22/19 Entered: 11/22/19 10:02:38 Page 33 of 58

 

 
Fill in this information to identify your case:

bebo ~«=«S ONESHA M EDWARDS

First Name Middle Name Last Name

 

Debtor 2
{Spouse If filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Northern District of California

Case number

(if known) () Check if this is an
amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

1. Do you have any executory contracts or unexpired leases?
G4 No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
CJ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

2.1

 

Name

 

Number Street

 

City State ZIP Cade

2.2

 

Name

 

Number Street

 

City State ZIP Code
2.3

 

Name

 

Number Street

 

City State ZIP Code
24

 

Name

 

Number Street

 

City State ZIP Code
2.5

 

Name

 

Number Street

 

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page fof

 
Fill in this information to identify your case:

Debtor1 ONESHA M EDWARDS

First Name Middie Name Last Name

Debtor 2
(Spouse, if filing) First Name Middie Name Last Name

 

United States Bankruptcy Court for the: Northern District of California

Case number
(if known)

 

 

( Check if this is an
amended filing

 

Official Form 106H
Schedule H: Your Codebtors 12/45

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,

and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

i No
QO) Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

Mi No. Go to line 3.
) Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

Ci No

Q] Yes. In which community state or territory did you live? . Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or lega! equivalent

 

Number Street

 

City State ZIP Cade

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on

Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Column 1: Your codebtor

Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

 

 

 

 

 

 

 

 

 

C3 Schedule D, line
Name

QO} Schedule E/F, line
Number Street OQ Schedule G, line
City State ZIP Code

QO) Schedule D, line
Name

) Schedule E/F, line
Number Street O) Schedule G, line
City State ZIP Code

() Schedule D, line
Name

C) Schedule E/F, line
Number Street Cl Schedule G, line
City State ZiP Cade

Official Form 106H Schedule H: Your Codebtors page 1of_

 
Fill in this information to identify your case:

pebtor1  ONESHA M EDWARDS

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) Fist Name Middle Name Last Name

 

United States Bankruptcy Court for the: Northern District of California

Case number Check if this is:

{If known}
( An amended filing

CL) A suppiement showing postpetition chapter 13
income as of the following date:

Official Form 1061 wT DDT yw
Schedule I: Your Income 42115

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

1. Fill in your employment _
information. Debtor 1 Debtor 2 or non-filing spouse

 

 

 

 

if you have more than one job,
attach a separate page with
* formation about a asitional Employment status UI Employed Ql Empioyed

employers. 4 Not employed OC) Not employed
Include part-time, seasonal, or

self-employed work.
Occupation

 

Occupation may include student
or homemaker, if it applies.

Employer's name

 

Employer's address

 

Number Street Number Street

 

 

 

City State ZIP Code City State ZIP Code

How long employed there?

ue Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. If you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

2. List monthly gross wages, salary, and commissions (before all payroll
deductions). If not paid monthly, calculate what the monthly wage would be. 2.

 

$ $
3. Estimate and list monthly overtime pay. 3. +$ +3
4, Calculate gross income. Add line 2 + line 3. 4,1 $ $

 

 

 

 

 

Official Form 106i Schedule I: Your income page 1

 
bebtor1  ONESHA M EDWARDS

First Name Middie Name Last Name

 

Gopy line 4 Were... cece ete seeeecneeseeenensacseseeueceesaesesansaeaeeesonessseseaseaes

5. List all payroll deductions:

5a. Tax, Medicare, and Social Security deductions
5b. Mandatory contributions for retirement plans
5c. Voluntary contributions for retirement plans
5d. Required repayments of retirement fund loans
5e. Insurance

5f. Domestic support obligations

5g. Union dues
5h. Other deductions. Specify:

 

6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e+5f+5g+5h. 6.

N

Calculate total monthly take-home pay. Subtract line 6 from line 4.

8, List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm

Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income.

8b. Interest and dividends

8c. Family support payments that you, a non-filing spouse, or a dependent

regularly receive

Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement.

8d. Unemployment compensation
8e. Social Security

8f. Other government assistance that you regularly receive

Include cash assistance and the value (if known) of any non-cash assistance

that you receive, such as food stamps (benefits under the Supplemental

Nutrition Assistance Program) or housing subsidies.
Specify:

 

8g. Pension or retirement income

8h. Other monthly income. Specify:

 

9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + Bh.

10. Calculate monthly income. Add line 7 + line 9.
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

11. State all other regular contributions to the expenses that you list in Schedule J.

Case number (if known),

 

 

 

 

 

 

 

 

 

 

 

 

Include contributions from an unmarried partner, members of your househoid, your dependents, your roommates, and other

friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify:

 

12, Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies

43. Do you expect an increase or decrease within the year after you file this form?

wi No.

 

For Debtor 1 For Debtor 2 or
non-filing spouse

> 4. $ $
5a. $ $
Sb.  $ $
5c. $ $
Sd.  $ $.
Se. $ $
5f § $
5h. +$ + $
$ $
7 § $
8a. § $
8b. $ $
gc, 8150.00 $
ad. $ $
8e. $$ $
sf. $1458.00 $
8g. § $
8h. + +$
9. | ¢ 1608.00 $

101 3 1608.00] 4 $ z= |S 1608.00

1.6 $
42. , 1608.00
Combined

monthly income

 

Q) Yes. Explain:

 

 

 

Official Form 1061 Schedule I: Your Income

page 2

 

 
Fill in this information to identify your case:

Debtor 4 ONESHA M EDWARDS

First Name Middle Name Last Name Check if this is:

 

Debtor 2 j
{Spouse, if filing} First Name Middle Name Last Name Q An amended filing

(J A supplement showing postpetition chapter 13
expenses as of the following date:

 

United States Bankruptcy Court for the: Northern District of Califomia

Case number
(if known)

MM / DD/ YYYY

 

 

 

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Cre Describe Your Household

1. Is this a joint case?

 

Mi No. Go toline 2.
L) Yes. Does Debtor 2 live ina separate household?

OQ) No
( Yes. Debtor 2 must file Official Form 106U-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

2. Do you have dependents? C2 No
Dependent's relationship to Dependent's Does dependent live
Do not list Debtor 4 and ( Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent..............:ccee a
Do not state the dependents’ SON 18 i No
names. Yes
SON 9 O) No
wi Yes
DAUGHTER 6 D No
7] Yes
CL} No
Ci Yes
2 No
Q Yes
3. Do your expenses include Wi No

expenses of people other than QO
yourself and your dependents? Yes

Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of

such assistance and have included it on Schedule I: Your Income (Official Form 1061.) Your expenses

4, The rental or home ownership expenses for your residence. include first mortgage payments and § 29.00
any rent for the ground or lot. 4. nnn
If not included in line 4:
4a. Real estate taxes 4a. $ 0
4b. Property, homeowner's, or renter’s insurance Ab. $ )
4c. Home maintenance, repair, and upkeep expenses 4c. $ 0
4d. Homeowner's association or condominium dues 4d. $ 0

Official Form 106J Schedule J: Your Expenses page 1

 

 
Debtor? ONESHA M EDWARDS

16.

18.

19.

20.

 

First Name Middle Name Last Name

. Additional mortgage payments for your residence, such as home equity loans

. Utilities:

6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6c. Telephone, cell phone, Intemet, satellite, and cable services

6d. Other. Specify:

 

. Food and housekeeping supplies

. Childcare and children’s education costs

. Clothing, laundry, and dry cleaning

Personal care products and services

Medical and dental expenses

. Transportation. Include gas, maintenance, bus or train fare.

Do not include car payments.
Entertainment, clubs, recreation, newspapers, magazines, and books

Charitabie contributions and religious donations

Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15c. Vehicle insurance

15d. Other insurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

Installment or lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2
17c. Other. Specify:
17d. Other. Specify:

Case number (if known)

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule I, Your Income (Official Form 106)).

Other payments you make to support others who do not live with you.
Specify:

 

Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Official Form 106J Schedule J: Your Expenses

6a.
6b.
6c.
6d.

10.
11.

12.
43.
14.

15a.
15b.
15c.

15d.

16.

17a.
47b.
17c.

17d.

19.

20a.

20b.

20c.

20d.

20a.

Your expenses

$

AP APH fr fF fF fF Ff TF OH

Ai fh GF GF >

PrP PH FH HF

fF PH FH ff

350.00
100.00
158.00

730.00

100.00
250.00

120.00
300.00

675.84
589.12

O1O Ojo | O

page 2
Debtor1 ONESHA M EDWARDS

First Name Middle Name Last Name

21. Other. Specify:

 

22. Calculate your monthly expenses.
22a. Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2

22c. Add line 22a and 22b. The result is your monthly expenses.

23. Calculate your monthly net income.
23a. Copy line 12 (your combined monthly income) from Schedule I.

23b. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

Case number (if kown),

at.

22a.
22b.

22c.

23b.

23c.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

MI No.

Cl Yes. explain here:

Official Form 106J Schedule J: Your Expenses

 

 

 

 

+5 0
§ 3571.38
$ 0
$ 3571.38
$ 1608.00
-$ 3571.38
$ -1963.38
page 3

Case: 19-42652 Doc#1 Filed: 11/22/19 Entered: 11/22/19 10:02:38 Page 40 of 58

 
Fill in this information to. identify your.case:

Debtor 1 ONESHA M EDWARDS

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing} First Name Middie Name Last Name

 

United States Bankruptcy Court for the: Northern District of California

Case number
(if known)

 

 

U) Check if this is an
amended filing

 

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 42/15

 

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to heip you fill out bankruptcy forms?

QO No
Mi Yes. Name of person KENDRA WILLIS

. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
Signature (Official Form 119).

 

Under penaity of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

KOM. ye x

Signature of Debtor 1 Signature of Debtor 2

 

 

Date
MM/ DD / YYYY

Official Form 106Dec Declaration About an Individual Debtor's Schedules

 
Fill in this information to identify your case:

ONESHA M EDWARDS

Debtor 14

 

First Name Middie Name Last Name

Debtor 2

 

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Northern District of California

Case number
(if known)

 

 

 

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

( Check if this is an
amended filing

04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case

number (if known). Answer every question.

| Part 4: Give Details About Your Marital Status and Where You Lived Before

 

41. What is your current marital status?

U Married
4 Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

& No

QO) Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

 

Debtor 2:

LU) same as Debtor 4

Dates Debtor 2
lived there

C) Same as Debtor 1

From

 

 

 

 

Number Street

To

 

 

City

C) same as Debtor 1

State ZIP Code
QC) same as Debtor 1

From

 

Debtor 1: Dates Debtor 1
lived there
From

Number Street
To

City State ZIP Code
From

Number Street
To

 

 

City State ZIP Code

Number Street

To

 

 

City

State ZIP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, \daho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

No

(J Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form

EZ Explain the Sources of Your Income

Official Form 107

106H).

Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 1

 
Debtor 4 ONESHA M

EDWARDS

 

First Name Middle Name

Last Name

Case number (# known)

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

A No

CQ Yes. Fill in the details.

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

(January 1 to December 31,2018 )
yYYY

For the calendar year before that:

(January 1 to December 31, )
yy

Debtor 1

Sources of income
Check all that apply.

U) Wages, commissions,
bonuses, tips

Q) Operating a business

QO Wages, commissions,
bonuses, tips

QO Operating a business

Q Wages, commissions,
bonuses, tips

Q Operating a business

Gross income

(before deductions and
exclusions)

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of ofher income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

Debtor 2

Sources of income
Check all that apply.

O Wages, commissions,
bonuses, tips

Q Operating a business

Q Wages, commissions,
bonuses, tips

Q) Operating a business

) Wages, commissions,
bonuses, tips

O Operating a business

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

C1 No
Gd Yes. Fill in the details.

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

(January 1 to December 31,2018)
vyyy

For the calendar year before that:

(January 1 to December 31,

—___)

YYYY

Official Form 107

Debtor 1

Sources of income

Describe below.

Gross income from
each source

(before deductions and
exclusions)

Debtor 2

Sources of income
Describe below.

 

 

 

 

Statement of Financial Affairs for Individuals Filing for Bankruptcy

Gross income

(before deductions and
exclusions)

$

Gross income from
each source

(before deductions and
exclusions)

CHILD SUPPORT 5 1650.00
WELFARE $ 9658.00 $
FOOD STAMPS. s 6380.00 $
WELFARE $ 10536.00
FOOD STAMPS _ g 6960.00

$

page 2

 
Debtor 1

ONESHA M

EDWARDS

 

First Name

Middle Name Last Name

Case number (i known)

Ee List Certain Payments You Made Before You Filed for Bankruptcy

 

6. Are either Debtor 1's or Debtor 2’s debts primarily consumer debts?

U1 No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

C) No. Go to line 7.

Q Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
fotal amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

wi Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

(2 No. Go to line 7.

@ Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

Official Form 107

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Dates of Total amount paid Amount you still owe
payment
AMERICAN HONDA FINANCE = 07/10/2019 sg 2027.52 ¢ 35794.00
Creditor's Name
2420 CAMINO RAMON 08/10/2019
Number Street
STE 350 09/10/2019
SAN RAMON CA 94583
City State ZIP Code
AMERICAN HONDA FINANCE = 07/10/2019 1767.36 ¢ 33230.00
Creditor's Name
2420 CAMINO RAMON 08/10/2019
Number — Street
STE 350 09/10/2019
SAN RAMON CA 94583
City State ZziP Code
$ $
Creditor's Name
Number Street
City State ZIP Code

Statement of Financial Affairs for Individuals Filing for Bankruptcy

Was this payment for...

QQ) Mortgage

| Car

(J) credit card

C) Loan repayment

Q Suppliers or vendors
Q) other

Q Mortgage

Mi Car

J) credit card

Q Loan repayment

Q Suppliers or vendors
(J other

Q Mortgage

CQ car

CY credit card

QQ Loan repayment

Q Suppliers or vendors

Q) Other

page 3
Debtor1  ONESHA M EDWARDS

Case number (i known)
First Name Middle Name Last Name

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child support and alimony.

No

L) Yes. List all payments to an insider.

 

 

 

 

 

Dates of Total amount Amount you still Reason for this payment
payment paid owe
$ $
insider's Name
Number Street
City State ZIP Code
$ $

 

Insider's Name

 

Number Street

 

 

City State ZIP Code

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?

Include payments on debts guaranteed or cosigned by an insider.

A No

C) Yes. List all payments that benefited an insider.

Dates of Total amount Amount you still Reason for this payment
payment paid owe Include creditor's name

 

Insider's Name 8 $

 

Number Street

 

 

City State ZIP Code

 

 

 

 

$ $
Insider's Name
Number Street
City State ZIP Code
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4

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Debtor? ~~ ONESHA M EDWARDS

Case number (i known)
First Name Middle Name Last Name

 

 

Identify Legal Actions, Repossessions, and Foreclosures

 

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
and contract disputes.

M No

CI Yes. Fill in the details.

 

 

 

 

 

 

 

Nature of the case Court or agency Status of the case
Case title Court Name QC) Pending
3 on appeal
Number — Street OI conchided
Case number
City State ZIP Code
Case title Court Name Q Pending
LI on appeal
Number Street QO Concluded
Case number
City State ZIP Code

 

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check ail that apply and fill in the details below.

w No. Go to line 11.
C) Yes. Fill in the information below.

Describe the property Date Value of the property

 

Creditors Name

 

Number Street Explain what happened

LL] Property was repossessed.

 

a Property was foreclosed.
a] Property was garnished.

 

City State ZIP Code Q Property was attached, seized, or levied.

Describe the property Date Value of the property

 

Creditor's Name

 

Number Street
Explain what happened

 

Property was repossessed.
Property was foreclosed.

 

Property wa tnished.
City State ZIP Code perly S ga

Oooo

Property was attached, seized, or levied.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5

 
Debtor 14 ONESHA M EDWARDS Case number (i known)

 

 

First Name Middle Name Last Name

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

M4 No

Q) Yes. Fill in the details.

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
Creditor's Name
$
Number Street
City State ZIP Code Last 4 digits of account number: XXXX-—

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

WI No
QU Yes

| Part 5 List Certain Gifts and Contributions

 

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

W No

C) Yes. Fill in the details for each gift.

 

 

 

 

 

 

 

 

 

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
$
Person to Whom You Gave the Gift
$
Number Street
City State ZIP Code
Person’s relationship to you
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
. $
Person to Whom You Gave the Gift
$
Number Street
City State ZIP Code
Person’s relationship to you
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6

Case: 19-42652 Doc#1 Filed: 11/22/19 Entered: 11/22/19 10:02:38 Page 47 of 58
Debtor1 ONESHA M EDWARDS

Case number (if known)
First Name Middle Name Last Name

 

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

MW No

QQ Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed

 

Charity's Name

 

 

Number Street

 

City State ZIP Cade

rare @: | List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?
MW No
©) Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property
how the loss occurred . tae oo loss lost
Include the amount that insurance has paid. List pending insurance
claims on line 33 of Schedule A/B: Property.

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consuited about seeking bankruptcy or preparing a bankruptcy petition?

Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

Mi No
CI Yes. Fill in the details.

 

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
Person Who Was Paid made
Number Street $
$

 

 

City State ZIP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7
pebtor1  ONESHA M EDWARDS

Case number (i known)

 

 

 

 

First Name Middie Name Last Name
Description and value of any property transferred Date payment or Amount of
transfer was made payment
Person Wha Was Paid
$
Number Street
$.

 

 

City State ZIP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

MW No

C) Yes. Fill in the details.

 

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
made
Person Who Was Paid
Number Street TO $
$
City State ZIP Code

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement.
UM No
CI Yes. Fill in the details.

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

 

Person Who Received Transfer

 

Number Street

 

 

Gity State ZIP Code

Person’s relationship to you

 

Person Who Received Transfer

 

Number Street

 

 

City State ZIP Code

Person’s relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8

 
Debtor 1 ONESHA M EDWARDS Case number {if known),

First Name Middle Name Last Name

 

 

19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

wi No
C2 Yes. Fill in the details.

Description and value of the property transferred Date transfer
was made

Name of trust

 

List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

Mi No

QO] Yes. Fill in the details.

 

 

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed, sold, moved, _ closing or transfer
or transferred
Name of Financial Institution
XOXXX— CI checking $
Number Street a Savings

Q Money market

 

a Brokerage

 

 

 

 

City State ZIP Code Q Other
XXXX-_ () checking $
Name of Financial institution
Q) Savings
Number Street im] Money market
OQ Brokerage
CJ other

 

City State ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

wi No
Cl Yes. Fill in the details.

 

 

 

 

 

 

Who else had access to it? Describe the contents Do you still
have it?
(J No
Name of Financial Institution Name QO) Yes
Number Street Number Street
City State ZIP Code

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 9
Debtor1 ONESHA M EDWARDS

First Name Midd'e Name Last Name

Case number (i known)

 

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No
QO Yes. Fill in the details.

 

 

Who else has or had access to it? Describe the contents Do you still
have it?
(] No
Name of Storage Facility Name QO Yes
Number Street Number Street

 

City State ZIP Code

 

City State ZIP Code

Identify Property You Hold or Control for Someone Else

23. Do you hold or contro! any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.

w No
C) Yes. Fill in the details.

Where is the property? Describe the property Value

 

Owner's Name $

 

Numb Street

 

Number Street

 

 

 

 

City State ZiP Coda
City State ZIP Code

iziemittm Give Details About Environmental Information

 

For the purpose of Part 10, the following definitions apply:

Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

MZ No

C) Yes. Fill in the details.

 

 

 

Governmental unit Environmental! law, if you know it Date of notice
Name of site Governmental unit
Number Street Number Street
City State ZIP Coda

 

City State ZiP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 10

 
Debtor 1 ONESHA M EDWARDS Case number (# known),

First Name Middle Name Last Name

 

 

25.Have you notified any governmental unit of any release of hazardous material?

M No

U2 Yes. Fill in the details.

 

 

 

Governmental! unit Environmental law, if you know it Date of notice
Name of site Governmental unit
Number Street Number Street

City State ZIP Code

 

City State ZIP Code

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

Mi No

C2) Yes. Fill in the details.

Court or agency Nature of the case Status of the

 

 

case
Case title. Qa .
Court Name Pending
Q On appeal
Number Street CJ concluded
Case number City State ZIP Gode

Give Details About Your Business or Connections to Any Business

 

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
QC) Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
(3 A member of a limited liability company (LLC) or limited liability partnership (LLP)
Qa partner in a partnership
() An officer, director, or managing executive of a corporation

CJ An owner of at least 5% of the voting or equity securities of a corporation

Mi No. None of the above applies. Go to Part 12.
(} Yes. Check all that apply above and fill in the details below for each business.
Describe the nature of the business Employer Identification number
Do not include Social Security number or ITIN.

 

Business Name

EIN: -

 

Number Street
Name of accountant or bookkeeper Dates business existed

 

From To

 

City State ZIP Code
Describe the nature of the business Employer Identification number
Do not include Social Security number or ITIN.

 

Business Name

 

 

BIN: ee
Number Street
Name of accountant or bookkeeper Dates business existed
From To

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 11

 

 
Debtor 4 ONESHA M EDWARDS

First Name Middie Name Last Name

Case number (7 known)

 

Employer Identification number
Do not include Social Security number or ITIN.

Describe the nature of the business

 

Business Name

 

 

EIN;
Number Street Name of accountant or bookkeeper Dates business existed
From To

 

City State ZIP Code

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

WW No

0 Yes. Fill in the details below.

Date issued

 

Name MMIDDIYYYY

 

Number Street

 

 

City State ZIP Code

a Sign Below

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 452, 1341, 1519, and 3571.

x /, Nida. putt be x

Signature of Debtor 1 Signature of Debtor 2

nae //9-2/ 17 bate

Did you attach additional pages to Your Statement of Financial Affairs for individuals Filing for Bankruptcy (Official Form 107)?

wi No
Q) Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

C3 No

Md Yes. Name of person KENDRA WILLIS . Attach the Bankruptcy Petition Preparer’s Notice,

Declaration, and Signature (Official Form 119).

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 12

 
Fill in this information to identify your case:

Debtor 1 ONESHA M EDWARDS

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Northern District of California

Case number () Check if this is an
{If known) amended filing

 

 

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 ia

If you are an individual filing under chapter 7, you must fill out this form if:
@ creditors have claims secured by your property, or
@ you have leased personal property and the lease has not expired.

 

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

Ea List Your Creditors Who Have Secured Claims

 

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
information below.

tdentify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?
Creditor’s
name: AMERICAN HONDA FINANCE MW Surrender the property. Wi No
. ( Retain the property and redeem it. QO) Ye
Description of 2017 HONDA PILOT Oh peta propery s
property Retain the property and enter into a
securing debt: Reaffirmation Agreement.

(Cd Retain the property and [explain]:

 

Creditor’s

name: AMERICAN HONDA FINANCE U1 Surrender the property. (4 No
ws 2018 HONDA CRV CJ Retain the property and redeem it. LJ Yes

orepety of Wi Retain the property and enter into a

securing debt: Reaffirmation Agreement.

CJ Retain the property and {explain}:

 

Creditor's C) Surrender the property. OC) No
name . C Retain the property and redeem it. C) Yes
copay of C2 Retain the property and enter into a

securing debt: Reaffirmation Agreement.

LJ Retain the property and {explain}:

 

Creditors LJ Surrender the property. QO No
nme" . UJ Retain the property and redeem it. (J Yes
owe of CJ Retain the property and enter into a

securing debt: Reaffirmation Agreement.

( Retain the property and [explain]:

 

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 1

 

 
Debtor 1 ONESHA M EDWARDS Case number (if known),

 

 

First Name Middie Name Last Name

Ea List Your Unexpired Personal Property Leases

 

For any unexpired personal property tease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases Will the lease be assumed?

Lessor’s name: CI No
Oy

Description of leased es

property:

Lessor's name: UNo
Q)

Description of leased Yes

property:

Lessor’s name: CY No

Description of leased QO Yes

property:

Lessor’s name: CI No
Cl Yes

Description of leased

property:

Lessor’s name: O No
U) Yes

Description of leased

property:

Lessor’s name: LI No
Q) Yes

Description of leased

property:

Lessor’s name: CI No
C) Yes

Description of leased
property:

Under penalty of perjury, | declare that | have indicated my intention about any property of my estate that secures a debt and any

Mor. that is subject to an unexpired lease.
X/ [bon \tavt. x

 

 

Signature of Debtor 1 Signature of Debtor 2
Date if, J? / 4 Date
MMi DD YYYY MM/ DD/ YYYY

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 2

 

 
Fill in this information to identify the case:

Debtor 1 ONESHA M EDWARDS

First Name Middie Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Northern District of California

Case number Chapter
(If known)

 

 

Official Form 119
Bankruptcy Petition Preparer’s Notice, Declaration, and Signature 12/15

Bankruptcy petition preparers as defined in 11 U.S.C. § 110 must fill out this form every time they help prepare documents that are filed in the
case. If more than one bankruptcy petition preparer helps with the documents, each must sign in Part 2. A bankruptcy petition preparer who
does not comply with the provisions of title 11 of the United States Code and the Federal Rules of Bankruptcy Procedure may be fined,
imprisoned, or both. 11 U.S.C. § 110; 18 U.S.C. § 156.

oe Notice to Debtor

Bankruptcy petition preparers must give the debtor a copy of this form and have the debtor sign it before they prepare any documents for
filing or accept any compensation. A signed copy of this form must be filed with any document prepared.

Bankruptcy petition preparers are not attorneys and may not practice law or give you legal advice, including the following:

whether to file a petition under the Bankruptcy Code (11 U.S.C. § 101 et seq.);

whether filing a case under chapter 7, 11, 12, or 13 is appropriate;

whether your debts will be eliminated or discharged in a case under the Bankruptcy Code;

whether you will be able to keep your home, car, or other property after filing a case under the Bankruptcy Code;
what tax consequences may arise because a case is filed under the Bankruptcy Code;

whether any tax claims may be discharged;

whether you may or should promise to repay debts to a creditor or enter into a reaffirmation agreement;

how to characterize the nature of your interests in property or your debts; or

what procedures and rights apply in a bankruptcy case.

The bankruptcy petition preparer KENDRA WILLIS has notified me of
Name

any maximum allowable fee before preparing any document for filing or accepting any fee.

bdr pwnd oul LL24.19

Signature of Debtor 1 acknowledging receipt of this notice MM / DD

Date
Signature of Debtor 2 acknowledging receipt of this notice MM/DD /YYYY

Official Form 119 Bankruptcy Petition Preparer’s Notice, Declaration, and Signature page 1

 
Debtor 4 ONESHA M EDWARDS Case number (if known),

First Name Middle Name Last Name

 

 

Er Declaration and Signature of the Bankruptcy Petition Preparer

 

Under penalty of perjury, | declare that:
| am a bankruptcy petition preparer or the officer, principal, responsible person, or partner of a bankruptcy petition preparer;

| or my firm prepared the documenis listed below and gave the debtor a copy of them and the Notice to Debtor by Bankruptcy Petition
Preparer as required by 11 U.S.C. §§ 110(b), 110(h), and 342(b); and

if rules or guidelines are established according to 11 U.S.C. § 110(h) setting a maximum fee for services that bankruptcy petition
preparers may charge, | or my firm notified the debtor of the maximum amount before preparing any document for filing or before
accepting any fee from the debtor.

 

 

 

KENDRA WILLIS PETITION PREPARER

Printed name Title, if any Firm name, if it applies
1660 W LINNE RD STE J21

Number Street

TRACY CA 95377 2097409970
City State ZIP Code Contact phone

| or my firm prepared the documents checked below and the completed declaration is made a part of each document that | check:
(Check all that apply.)

Ww Voluntary Petition (Form 101) Mi Schedule | (Form 1061) QO Chapter 11 Statement of Your Current Monthly
Income (Form 122B)

wl Statement About Your Social Security Numbers wi Schedule J (Form 106J) QO
Chapter 13 Statement of Your Current Monthly

(Form 121) wd . ae .
wi sae: Declaration About an Individual Debtor's Income and Calculation of Commitment Period
Summary of Your Assets and Liabilities and Schedules (Form 106Dec) (Form 122C-1)
Certain Statistical Information (Form 106Sum) w . . .
BW schedule A/B (Form 1084/8) Statement of Financial Affairs (Form 107) () Chapter 13 Calculation of Your Disposable
chedule orm
44 statement of intention for Individuals Filing Income (Form 122C-2)
iA Schedule C (Form 106C) Under Chapter 7 (Form 108) QW Application to Pay Filing Fee in installments
G4 Schedule D (Form 106D) wi Chapter 7 Statement of Your Current (Form 103A)
Monthly Income (Form 122A-1 icati iti
Gd Schedule E/E (Form 106E/F) y Income ( ) wl prplication to Have Chapter 7 Filing Fee
wl (CJ statement of Exemption from Presumption aived (Form )
Schedule G (Form 1066) of Abuse Under § 707(b)(2) MA list of names and addresses of all creditors
Mi schedule H (Form 106H) (Form 122A-1Supp) (creditor or mailing matrix)
O Chapter 7 Means Test Catculation CQ other

(Form 122A-2)

Bankruptcy petition preparers must sign and give their Social Security numbers. If more than one bankruptcy petition preparer prepared the documents
to which this declaration applies, the signature and Social Security number of each preparer must be provided. 11 U.S.C. § 110.

en
Nal (uy _———

 

 

 

 

 

Date 11/10/2019
Signature of bankruptcy pelitio preparer or officer, principal, responsible MM/DD/YYYY
person, or partner
KENDRA WILLIS
Printed name
he Date
Signature of bankruptcy petition preparer or officer, principal, responsible Social Security number of person who signed MM /DO/YYYY

person, or partner

 

Printed name

Official Form 119 Bankruptcy Petition Preparer's Notice, Declaration, and Signature page 2
B2800 (Form 2800) (12/15)

United States Bankruptcy Court
MOEHIERN _ District Of CALI Co Nit
Inre O Ne S H A M. SN VOA DS Case No.
Debtor Chapter +}

DISCLOSURE OF COMPENSATION OF BANKRUPTCY PETITION PREPARER
[Must be filed with the petition if.a bankruptcy petition preparer prepares the petition. 11 U.S.C. § 110(h)(2).]

1. Under 11 U.S.C. § 110(h), I declare under penalty of perjury that I am not an attorney or employee of an
attorney, that I prepared or caused to be prepared one or more documents for filing by the above-named
debtor(s) in connection with this bankruptcy case, and that compensation paid to me within one year before
the filing of the bankruptcy petition, or agreed to be paid to me, for services rendered on behalf of the
debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

For document preparation services I have agreed to accept........cccscesssssceseeees $ 1S ‘ WW

Prior to the filing of this statement I have received.........ccceccsscssssesseseesseesseeeee $ [$45 . WD

Balance Due

2. Ihave pr Wino or vai to e Wccle the ae documents (itemize):

~ Ue Oh pet Ni
and ein the fone eC sa C CUOtU | t th Orr | AW Isto
\~
‘Fhesource-efthe compensation paid to me was:
f Debtor Other (specify)
4. awe of compensation to be paid to me is:
Debior Other (specify)

5. The foregoing is a complete statement of any agreement or arrangement for payment to me for preparation
of the petition filed by the debtor(s) in this bankruptcy case.

    
 

6. To my knowledge no other person has prepared for compensation a document for filing in connection with
this bankruptcy case except as listed below:

NAME SOCIAL SECURITY NUMBER

  

 
 

 

 

At Lun, SU (PME Me og
Signature Social “Sectirity fy) of bankruptcy a
Reindva lil i ECO Mine 2d) Wo, {CA o3yt
Printed name and title, if any, a Iv \ddréss

Bankruptcy Petition Preparer

* If the bankruptcy petition preparer is not an individual, state the Social Security number of the officer, principal,
responsible person or partner of the bankruptcy petition preparer. (Required by 11 U.S.C. § 110).

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of
Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.

 
